                                                           'cOMPLSje THIS SECTION ON DELIVERY■                     *1         |
'' SENDER:'co/wpz.erevtH/s-s                 '      " ,1
                                                            A. Signature
 ■ Complete items 1,2. aitd 3.                                                                             □ Agent
 ■ Print your name and address on the reverse               X                                              □ Addressee
    so that we can return the card to you.                                                            C. Date of Delivery
 ■ Attach this card to the back of the mallpiece,
                                                            B. Received by Printed Name)          j
    or on the front if space permits.
  1. ArUcle Addressed to;                                   D. Is dellveiy address different from item 17 lj tes
                                                               If YES, enter dellvefy address below:      □ No
   W\\Ve^
    ""lOV t
                                                           3. Service Type                      □ Priortly Man Express®
                                                           □ AdUtt SignaturB                    □ Heglstered MaS™
       lllilllillllillilllllllllllllllll                   DAihill Signature RssWctedDeSveiy    o Reirt^ MailRestricted
         9590 9402 5747 0003 5483 84                       □ CatlfiS M^BesWcted Delivery □                       ^
                                                           gSSlffi^R^tdetedOeHvery

                                                                                               Domestic Return Receipt •
  PS Form 3811, July 2015 PSN 7530-02-000-9053



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